                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND

                                          )
STATE OF NEW YORK; STATE OF               )
CALIFORNIA; STATE OF                      )
ILLINOIS; STATE OF RHODE                  )
ISLAND; STATE OF NEW JERSEY;              )
COMMONWEALTH OF                           )
MASSACHUSETTS; STATE OF                   )
ARIZONA; STATE OF COLORADO;               )
STATE OF CONNECTICUT; STATE               )
OF DELAWARE; THE DISTRICT                 )
OF COLUMBIA; STATE OF                     )
HAWAII; OFFICE OF THE                     )
GOVERNOR ex rel. Andy Beshear, in         )
his official capacity as Governor of      )
the COMMONWEALTH OF                       )
                                          )
KENTUCKY; STATE OF MAINE;
                                          )
STATE OF MARYLAND; STATE OF
                                          )
MICHIGAN; STATE OF                        )
MINNESOTA; STATE OF NEVADA;               )
STATE OF NEW MEXICO; STATE                )
OF NORTH CAROLINA; STATE OF               )   C.A. No. 25-cv-39-JJM-PAS
OREGON; STATE OF VERMONT;                 )
STATE OF WASHINGTON; and                  )
STATE OF WISCONSIN,                       )
                                          )
      Plaintiffs,                         )
v.                                        )
                                          )
                                          )
DONALD TRUMP, in his official
                                          )
capacity as President of the United
                                          )
States; U.S. OFFICE OF                    )
MANAGEMENT AND BUDGET;                    )
RUSSELL VOUGHT, in his official           )
capacity as Director of the U.S. Office   )
of Management and Budget; U.S.            )
DEPARTMENT OF THE                         )
TREASURY; SCOTT BESSENT, in               )
his official capacity as Secretary of     )
the Treasury; PATRICIA COLLINS,           )
in her official capacity as Treasurer     )
of the United States; U.S.                )
                                          )
DEPARTMENT OF HEALTH AND                   )
HUMAN SERVICES; ROBERT F.                  )
KENNEDY, JR., in his official              )
capacity as Secretary of Health and        )
Human Services; U.S.                       )
                                           )
DEPARTMENT OF EDUCATION;
                                           )
LINDA MCMAHON, in her official
                                           )
capacity as Secretary of Education;        )
U.S. DEPARTMENT OF                         )
TRANSPORTATION; SEAN DUFFY,                )
in his official capacity as Secretary of   )
Transportation; U.S. DEPARTMENT            )
OF LABOR; VINCE MICONE, in his             )
official capacity as Acting Secretary      )
of Labor; U.S. DEPARTMENT OF               )
ENERGY; CHRIS WRIGHT, in his               )
official capacity as Secretary of          )
Energy; U.S. ENVIRONMENTAL                 )
                                           )
PROTECTION AGENCY; LEE
                                           )
ZELDIN, in his official capacity as
                                           )
Administrator of the U.S.                  )
Environmental Protection Agency;           )
U.S. DEPARTMENT OF THE                     )
INTERIOR; DOUG BURGUM, in his              )
official capacity as Secretary of the      )
Interior; U.S. DEPARTMENT OF               )
HOMELAND SECURITY; KRISTI                  )
NOEM, in her capacity as Secretary         )
of Homeland Security; U.S.                 )
DEPARTMENT OF JUSTICE;                     )
PAMELA BONDI, in her official              )
capacity as Attorney General of the        )
                                           )
U.S. Department of Justice; THE
                                           )
NATIONAL SCIENCE                           )
FOUNDATION; DR. SETHURAMAN                 )
PANCHANATHAN, in his capacity              )
as Director of the National Science        )
Foundation; U.S. DEPARTMENT OF             )
AGRICULTURE; BROOKE                        )
ROLLINS, in her official capacity as       )
Secretary of Agriculture; U.S.             )
DEPARTMENT OF HOUSING AND                  )
URBAN DEVELOPMENT; SCOTT                   )
TURNER, in his official capacity as        )
                                           )


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Secretary of Housing and Urban            )
Development; U.S. DEPARTMENT              )
OF STATE; U.S. AGENCY FOR                 )
INTERNATIONAL                             )
DEVELOPMENT; MARCO RUBIO,                 )
                                          )
in his official capacities as Secretary
                                          )
of State and Acting Administrator of
                                          )
the United States Agency for              )
International Development; U.S.           )
DEPARTMENT OF DEFENSE;                    )
PETER HEGSETH, in his official            )
capacity as Secretary of Defense; U.S.    )
DEPARTMENT OF VETERANS                    )
AFFAIRS; DOUG COLLINS, in his             )
official capacity as Secretary of         )
Veterans Affairs; U.S.                    )
DEPARTMENT OF COMMERCE;                   )
HOWARD LUTNICK, in his official           )
                                          )
capacity as Secretary of Commerce;
                                          )
NATIONAL AERONAUTICS AND
                                          )
SPACE ADMINISTRATION; JANET               )
PETRO in her official capacity as         )
Acting Administrator of National          )
Aeronautics and Space                     )
Administration; CORPORATION               )
FOR NATIONAL AND                          )
COMMUNITY SERVICE;                        )
JENNIFER BASTRESS                         )
TAHMASEBI, in her official capacity       )
as Interim Head of the Corporation        )
for National and Community Service;       )
U.S. SOCIAL SECURITY                      )
                                          )
ADMINISTRATION; LELAND
                                          )
DUDEK, in his official capacity as        )
Acting Commissioner of United             )
States Social Security                    )
Administration; U.S. SMALL                )
BUSINESS ADMINISTRATION; and              )
KELLY LOEFFLER, in her official           )
capacity as Administrator of U.S.         )
Small Business Administration,            )
                                          )
       Defendants.                        )
                                          )



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                          MEMORANDUM AND ORDER

JOHN J. MCCONNELL, JR., United States District Chief Judge.

      The Executive’s categorical freeze of appropriated and obligated funds

fundamentally undermines the distinct constitutional roles of each branch of our

government. The interaction of the three co-equal branches of government is an

intricate, delicate, and sophisticated balance—but it is crucial to our form of

constitutional governance. Here, the Executive put itself above Congress. It imposed

a categorical mandate on the spending of congressionally appropriated and obligated

funds without regard to Congress’s authority to control spending. Federal agencies

and departments can spend, award, or suspend money based only on the power

Congress has given to them–they have no other spending power. The Executive has

not pointed to any constitutional or statutory authority that would allow them to

impose this type of categorical freeze. The Court is not limiting the Executive’s

discretion or micromanaging the administration of federal funds. Rather, consistent

with the Constitution, statutes, and caselaw, the Court is simply holding that the

Executive’s discretion to impose its own policy preferences on appropriated funds can

be exercised only if it is authorized by the congressionally approved appropriations

statutes. Accordingly, based on these principles and the reasons stated below, the

Court grants the States’ Motion for Preliminary Injunction. ECF No. 67.




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      I.     BACKGROUND

      We begin by restating the American government principles learned during

critical civics education lessons in our youth. 1 Our founders, after enduring an eight-

year war against a monarch’s cruel reign from an ocean away, understood too well

the importance of a more balanced approach to governance. They constructed three

co-equal branches of government, each tasked with their own unique duties, but with

responsibilities over the other branches as a check in order to ensure that no branch

overstepped their powers, upsetting the balance of the fledgling constitutional

republic. See Kilbourn v. Thompson, 103 U.S. 168, 191 (1880). These concepts of

“checks and balances” and “separation of powers” have been the lifeblood of our

government, hallmarks of fairness, cooperation, and representation that made the

orderly operation of a society made up of a culturally, racially, and socioeconomically

diverse people possible.

      The three branches of our government—Legislative, Executive, and Judicial—

derive their power from the United States Constitution; they function together, and

one branch’s power does not supersede that of another.             “To the legislative

department has been committed the duty of making laws; to the executive the duty



      1 “This is what it all comes down to: we may choose to survive as a country by

respecting our Constitution, the laws and norms of political and civic behavior, and
by educating our children on civics, the rule of law, and what it really means to be an
American, and what America means. Or, we may ignore these things at our . . .
peril.” A.C. v. Raimondo, 494 F. Supp. 3d 170, 181 (D.R.I. 2020), aff'd sub nom. A.C.
by Waithe v. McKee, 23 F.4th 37 (1st Cir. 2022).




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of executing them; and to the judiciary the duty of interpreting and applying them in

cases properly brought before the courts.” Massachusetts v. Mellon, 262 U.S. 447, 488

(1923); see also Wayman v. Southard, 23 U.S. (10 Wheat.) 1, 46 (1825) (Marshall,

C.J.) (“[T]he legislature makes, the executive executes, and the judiciary construes

the law”).   Importantly, James Madison wrote that this system prevents “[t]he

accumulation of all powers, legislative, executive, and judiciary, in the same hands.”

The Federalist No. 47, at 301 (C. Rossiter ed. 1961). Such an accumulation and

concentration of power would pose an inherent “threat to liberty.” Clinton v. City of

New York, 524 U.S. 417, 450 (1998) (Kennedy, J., concurring).

      The Legislative branch, consisting of two Houses of Congress elected by the

citizens of the states, has the power to levy taxes, finance government operations

through appropriations, and to set the terms and conditions on the use of those

appropriations.   U.S. Const. art. I, §§ 8, 9.   Congress also makes laws, and the

Constitution prescribes a specific procedure for it to follow involving the agreement

of both the House of Representatives and the Senate and presentment of the final bill

to the President for signature or veto. U.S. Const. art. I, §§ 1, 7. The President, as

head of the Executive Branch, may recommend laws for Congress’s consideration,

including those related to spending. U.S. Const. art. II, §§ 1, 3. Once the bill becomes

the law, U.S. Const. art. I, § 7, the Constitution imposes on the President a duty to

“take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3. And Article

III empowers the Judiciary with the “province and duty ... to say what the law is” in




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particular cases and controversies. Marbury v. Madison, 1 Cranch 137, 5 U.S. 137,

177 (1803); U.S. Const. art. III, § 2.

       Important to this case is how Congress uses its power to authorize spending to

support federal programs and activities. One way is through an appropriation, which

creates the legal authority to “make funds available for obligation” and to make

“expenditure[s]” for the purposes, during the time periods, and in the amounts

specified in the law authorizing the appropriations. See 2 U.S.C. § 622(2)(A)(i). An

“obligation” is a “definite commitment that creates a legal liability of the government

for the payment of goods and services ordered or received, or a legal duty on the part

of the United States that could mature into” such a liability; an “expenditure,” also

known as a “disbursement,” is the actual spending of federal funds. U.S. Gov’t

Accountability Off., A Glossary of Terms Used in the Federal Budget Process, GAO-

05-734SP, at 45, 48, 70 (Sept. 2005), https://www.gao.gov/assets/gao-05-734sp.pdf

(“Budget Glossary”).

       Congress has enacted multiple statutes that affirm its control over federal

spending.     First, the “purpose statute,” 31 U.S.C. § 1301(a), states that

“[a]ppropriations shall be applied only to the objects for which the appropriations

were made except as otherwise provided by law,”—that is, funds can be used only for

the purposes that Congress has designated. Second, the Antideficiency Act prevents

agencies from obligating or spending funds absent congressional appropriation. 31

U.S.C. § 1341. Finally, the Congressional Budget and Impoundment Control Act of

1974, 2 U.S.C. §§ 681 et seq. (“ICA”), permits the Executive Branch to “impound” (or




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decline to spend) federal funds only under a very small set of highly circumscribed

conditions.

      This case also involves the actions of agencies in receipt of statutorily

appropriated federal funding. “When an executive agency administers a federal

statute, the agency’s power to act is ‘authoritatively prescribed by Congress.’” City of

Providence v. Barr, 954 F.3d 23, 31 (1st Cir. 2020) (quoting City of Arlington v. FCC,

569 U.S. 290, 297 (2013)). “It is no exaggeration to say that ‘an agency literally has

no power to act ... unless and until Congress confers power upon it.’”          City of

Providence, 954 F.3d at 31 (quoting La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374

(1986)).   In this case, there are specific statutory provisions instructing federal

agencies to provide the States with categorical or formula grants where money is

allocated on the basis of enumerated statutory factors such as population or the

expenditure of qualifying state funds. ECF No. 114 ¶ 93. Several examples of these

formula grants involve funding for Medicaid (42 U.S.C. § 1396(a), highway (23 U.S.C.

§ 104(a)(1), (b), (c)), special education services (the Individuals with Disabilities

Education Act (“IDEA”), 20 U.S.C. §§ 1400 et seq.), for mental health and substance

abuse treatment (42 U.S.C. §§ 300x(a), 300x-7(a), 300x-21(a), 300x-33(a)), power and

heating for low-income residents, (the Low-Income Home Energy Assistance Program

(“LIHEAP”), 42 U.S.C. § 8621(a)), the Infrastructure Improvement and Jobs Act

(“IIJA”) (Pub. L. No. 117-58, 135 Stat. 429 (2021)) and Inflation Reduction Act (“IRA”)

(Pub. L. No. 117-169, 136 Stat. 1818 (2022)) for projects ranging from highways, to

broadband access, to pollution reduction, to increasing the reliability of the electric




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grid, and clean water. These statutes direct the agencies to make grants to states for

enumerated purposes in accordance with congressional policies.

      With this backdrop, the Court moves to the Executive actions that spurred this

lawsuit.

      A. The President’s Executive Orders and OMB Memorandum M-25-13

      The President issued a series of Executive Orders (“EOs”) in his first eight days

of office, directing federal agencies to pause and review funding in connection with

his policy priorities—specifically relating to:

      •    “terminating the Green New Deal” and requiring an immediate pause on
           disbursement of funds appropriated under the IRA or IIJA (“Unleashing
           EO”), ECF No. 68-1;
      •    pausing funding programs relating to “removable or illegal aliens”
           (“Invasion EO”), ECF No. 68-3;
      •    identifying “diversity, equity, inclusion, accessibility” programs, in an effort
           to “Ending Radical and Wasteful Government DEI Programs and
           Preferencing” (“DEI EO”), ECF No. 68-2;
      •    ending federal funding of gender ideology (“Gender EO”), to ensure that
           research or educational grants to medical institutions do not include federal
           funds for transgender medical care (“Gender-Affirming Care EO”), ECF
           Nos. 68-5, 65-8; and
      •    pausing federal foreign aid that is not in line “with the foreign policy of the
           President of the United States” (“Foreign Aid EO”). ECF No. 68-6.

      On January 27, 2025, the Office of Management and Budget’s (OMB) Acting

Director, Matthew J. Vaeth issued OMB Memorandum M-25-13 (“OMB Directive”),

entitled “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance

Programs” to executive departments and agencies’ heads. See ECF No. 68-9. The

OMB Directive instructed federal agencies to “complete a comprehensive analysis of

all of their Federal financial assistance programs to identify programs, projects, and

activities that may be implicated by any of the President’s executive orders.” Id. at 2.



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Then, the OMB Directive mandated that, in the interim of the comprehensive

analyses, “Federal agencies must temporarily pause all activities related to obligation

or disbursement of all Federal financial assistance, and other relevant agency

activities that may be implicated by the Executive Orders, including, but not limited

to, financial assistance for foreign aid, nongovernmental organizations, DEI

[diversity, equality, and inclusion], woke gender ideology, and the green new deal.”

Id. Agencies had until February 10, 2025 to submit to the OMB “detailed information

on any programs, projects, or activities subject to this pause.” Id. The OMB Directive

further noted that the pause would continue “until OMB has reviewed and provided

guidance” to the agencies in relation to the information submitted to the OMB. Id.

The pause was set to “become effective on January 28, 2025, at 5:00 PM.” Id.

      B. The States’ Suit, the OMB Directive’s Rescission, and the TRO

      On January 28, the “States”—comprising twenty-two states and the District of

Columbia—brought suit against the President and the heads of numerous federal

executive departments and agencies, arguing that their actions to implement the

OMB Directive violated: (1) the Administrative Procedure Act (“APA”), 5 U.S.C. § 701

et seq. (Counts I, II); (2) the Separation of Powers (Count III); and the Spending,

Presentment, Appropriations, and Take Care Clauses of the U.S. Constitution

(Counts IV, V).   ECF No. 1.     Additionally, the States immediately moved for a

temporary restraining order (“TRO”) to “restrain the Defendants from enforcing the

OMB Directive’s directive to ‘pause all activities related to obligation or disbursement

of all Federal financial assistance.’” ECF No. 3 at 3 (citing OMB Directive at 2). That




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same day, the U.S. District Court for the District of Columbia issued an

administrative stay on the OMB Directive until it could hold a hearing on a separate

motion for a TRO from coalitions of nonprofit organizations. See Nat’l Council of

Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL 314433 (D.D.C.

Jan. 28, 2025).

      The next day, a hearing for the TRO motion was set for 3:00 p.m. (Hearing

Notice Jan. 29, 2025) and the Defendants entered an appearance. ECF No. 39. But

shortly before the hearing, the Defendants filed a notice stating that the OMB

rescinded the OMB Directive and that the Plaintiffs’ claims and request for

prospective relief were now moot. ECF No. 43. Nonetheless, the Court preceded with

the TRO hearing at the States’ request. During the hearing the States argued against

mootness, presenting White House Press Secretary Karoline Leavitt’s post-rescission

announcement on X (formerly Twitter) stating that the federal funding freeze was

not rescinded and that the President’s EOs remained in full force and effect. See

Minute Entry Jan. 29, 2025; ECF No. 44; see also ECF No. 68-126 (screenshot of the

Press Secretary’s X announcement). Feeling inclined to grant a TRO based on the

evidence before it, the Court requested that the States submit, and the Defendants

respond, to a proposed TRO order (Minute Entry Jan. 29, 2025)—a request the parties

promptly complied with, see ECF Nos. 46, 49.

      Based on the Press Secretary’s announcement—along with supplemental

evidence showing continued enforcement of the OMB Directive—the Court

determined that the OMB Directive’s rescission was “in name only” and that the




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“substantive effect of the directive carries on.” ECF No. 50 at 10. Thus, the Court

found that the OMB Directive’s rescission did not moot the States’ claims and

ultimately issued a TRO on January 31. See id. at 11-12. The TRO provided that the

Defendants: “shall not pause, freeze, impede, block, cancel, or terminate [their]

compliance with awards and obligations . . . to the States . . . except on the basis of

the applicable authorizing statutes, regulations, and terms” and shall be enjoined

from “from reissuing, adopting, implementing, or otherwise giving effect to the OMB

Directive . . ..” Id. 2

        C. TRO Enforcement Order, The Defendants’ Appeal, And The Preliminary
           Injunction Hearing
        A few days after the Court issued the TRO, it set an expedited briefing schedule

on the States’ Motion for a Preliminary Injunction. See Text Order, Feb. 3, 2025.

Then, on February 6, the Court extended the TRO’s duration, for good cause, until it

could rule on the preliminary injunction motion. See Text Order, Feb. 6, 2025. A day

later, the States filed an emergency motion to enforce the TRO, pointing to evidence

that their access to federal funds was still being denied. 3 See ECF No. 66. Based on

the evidence, the Court determined that there were “pauses in funding [that]

violate[d] the plain text of the TRO” and granted the States’ Motion, ordering the




        2The Court later issued an order on February 10, making clear that the TRO
also applied to funds paused under the Unleashing EO and the Unleashing Guidance.
See ECF No. 96.
       3 The States filed another motion to enforce the TRO on February 28, 2025

relating to FEMA funds that continue to be frozen despite the Court’s TRO and
subsequent clarifying orders. ECF No. 160. The Court will address that motion later
in this Order.


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Defendants to end any federal funding pauses and take steps to carry out the TRO

during its pendency. ECF No. 96 at 3-4.

      Soon after the Court granted the States’ emergency enforcement motion, the

Defendants appealed to the First Circuit the Court’s: (1) TRO; (2) order extending the

TRO’s duration, and: (3) order enforcing the TRO. ECF No. 98 at 1. The Defendants

sought a stay of the Court’s orders from the First Circuit, including an immediate

administrative stay. Id. The Defendants also filed a motion to stay, requesting the

Court to stay its orders pending appeal. ECF No. 100. Ultimately, the First Circuit

denied the Defendants’ motion for an administrative stay (ECF No. 106 at 2), the

Court denied the Defendants’ motion to stay (ECF No. 111), and the Defendants then

voluntarily dismissed their appeal. ECF Nos. 121, 122. In the meantime, the States

amended their complaint. ECF No. 114.

      Eventually, after an expedited briefing period, the Court held a hearing on the

preliminary injunction motion where the States presented evidence of the categorical

pause in funding and the harms resulting. The Defendants did not rebut any of that

evidence or introduce any evidence of their own but instead simply argued against

the States’ Motion on other grounds. At the close of the arguments, the Court

reiterated that the TRO was in full force and effect and took the States’ Motion for

Preliminary Injunction under advisement.

      II.    STANDARD OF REVIEW

      “A request for a preliminary injunction is a request for extraordinary relief.”

Cushing v. Packard, 30 F.4th 27, 35 (1st Cir. 2022). “To secure a preliminary



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injunction, a plaintiff must show ‘(1) a substantial likelihood of success on the merits,

(2) a significant risk of irreparable harm if the injunction is withheld, (3) a favorable

balance of hardships, and (4) a fit (or lack of friction) between the injunction and the

public interest.’” NuVasive, Inc. v. Day, 954 F.3d 439, 443 (1st Cir. 2020) (quoting

Nieves-Marquez v. Puerto Rico, 353 F.3d 108, 120 (1st Cir. 2003)). In evaluating

whether the plaintiffs have met the most important requirement of likelihood of

success on the merits, a court must keep in mind that the merits need not be

“conclusively determine[d];” instead, at this stage, decisions “are to be understood as

statements of probable outcomes only.” Akebia Therapeutics, Inc. v. Azar, 976 F.3d

86, 93 (1st Cir. 2020) (partially quoting Narragansett Indian Tribe v. Guilbert, 934

F.2d 4, 6 (1st Cir. 1991)). “To demonstrate likelihood of success on the merits,

plaintiffs must show ‘more than mere possibility’ of success–rather, they must

establish a ‘strong likelihood’ that they will ultimately prevail.” Sindicato

Puertorriqueño de Trabajadores, SEIU Local 1996 v. Fortuño, 699 F.3d 1, 10 (1st Cir.

2012) (per curiam) (quoting Respect Maine PAC v. McKee, 622 F.3d 13, 15 (1st Cir.

2010)).

      III.   DISCUSSION

      A.     Jurisdiction

      The Defendants assert that the Court lacks jurisdiction to enter preliminary

relief in this case because: (1) the OMB Directive’s rescission renders the States’

claims—or at least their request for preliminary relief—moot; and (2) the States have




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not established standing to challenge the OMB Directive. See ECF No. 113 at 11-22.

The Court will address each argument in turn.

             1.     Mootness

      The Defendants contend that the States’ claims here are directed only against

the OMB Directive, and thus the rescission of the OMB Directive renders the States’

claims moot. Id. at 11. They assert that the States’ allegations of ongoing harms,

such as continued funding freezes, do not stem from the challenged OMB Directive

but from actions that are not challenged in the States’ Complaint. Id. at 13. Those

purportedly unchallenged actions that the Defendants suggest are the true basis for

the States’ ongoing harms are: (1) independent agency decisions not based on the

OMB Directive; and (2) the issuance of OBM Memorandum M-25-11 (the “Unleashing

Guidance”)—which directed agencies to immediately pause certain disbursement of

funds appropriated under the IRA and the IIJA. 4 Id. at 14-15.

      The OMB Directive’s rescission does not render the States’ claims moot. The

voluntary cessation doctrine precludes a finding of mootness in this case.         The

voluntary cessation doctrine gives rise to a mootness exception when the following

two-part test is met: (1) the defendant voluntarily ceased the challenged conduct to

moot the plaintiff’s case; and (2) there is a reasonable expectation that the defendant

will repeat the challenged conduct after the lawsuit’s dismissal. Lowe v. Gagné-



      4 After the Defendants responded to the States’ preliminary injunction motion,

the States filed an Amended Complaint to explicitly include challenges to the
Unleashing Guidance, the related Unleashing EO, and the general implementation
of funding freezes based on the President’s EO. See ECF No. 114 ¶¶ 192, 203-04,
208-09, 215-17, 225-26, 231-32, 237-38, 244-46.


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Holmes, 126 F.4th 747, 756 (1st Cir. 2025) (citing Bos. Bit Labs, Inc. v. Baker, 11

F.4th 3, 9 (1st Cir. 2021)). Here, there was a rescission of the challenged OMB

Directive, see ECF No. 68-12, but as the Court has previously found, the evidence

suggests that the OMB Directive’s rescission was in name only and “may have been

issued simply to defeat the jurisdiction of the courts.” ECF No. 50 at 10. The Court

made this finding, in part, based on a statement from the White House Press

Secretary after the OMB Directive’s rescission, stating:

      This is NOT a rescission of the federal funding freeze. It is simply a
      rescission of the OMB memo. Why? To end any confusion created by
      the court’s injunction. The President’s EO’s on federal funding remain
      in full force and effect, and will be rigorously implemented. 5

ECF No. 68-126; ECF No. 50 at 10-11. The Defendants’ contentions that the sole goal

of that statement was “ending confusion” and “focusing agencies on the legal effect of

the President’s recent Executive Orders” are unavailing. ECF No. 113 at 16. The

Press Secretary’s statement reflects that the OMB Directive’s rescission was a direct

response to a court-issued stay against the OMB Directive so that the challenged

federal funding freeze could continue without any judicially-imposed impediment.

Therefore, the Defendants’ voluntary rescission of the OMB Directive was a clear

effort to moot legal challenges to the federal funding freeze announced in the OMB

Directive.




      5  The injunction referenced in the Press Secretary’s statement is the
administrative stay another federal court issued against the OMB Directive’s
instructions to agencies to “pause ... disbursement of Federal funds under all open
awards.” See Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239
(LLA), 2025 WL 314433, at *2 (D.D.C. Jan. 28, 2025).


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      Nor have the Defendants met their heavy burden of illustrating that it is

“‘absolutely clear that the allegedly wrongful behavior could not reasonably be

expected to recur.’” Brown v. Colegio de Abogados de Puerto Rico, 613 F.3d 44, 49

(1st Cir. 2010) (quoting Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc.,

528 U.S. 167, 189 (2000)). The Defendants purport that a reinstatement of the

challenged OMB Directive, absent an injunction, is a fear that is “wholly speculative

given the existence of the President’s Executive Orders which separately address the

President’s priorities.” ECF No. 113 at 16.      But nothing suggests that the OMB

voluntarily abandoned the OMB Directive because they believed that: (1) the

President’s EOs, alone, sufficiently instructed agencies on how to implement the

President’s priorities; or (2) the OMB Directive was deficient or exceeded the

Defendants’ constitutional or statutory authority.      See ECF No. 68-12 (recission

without explanation). Rather, as explained above, the Press Secretary’s statement

reflects that the OMB Directive’s rescission was in direct response to litigation that

impeded the execution of a federal funding freeze. Thus, the rationale underlying the

OMB Directive’s rescission makes it unreasonable to conclude that the Defendants

will not reinstate the challenged funding freeze absent an injunction from this Court.

Accordingly, the States’ challenges are not moot based on the OMB Directive’s

rescission.

      Next, the Defendants claim that the States’ request for preliminary relief is

moot because, by rescinding the OMB Directive, the Defendants have “voluntarily

provided the prospective injunctive relief that the States sought in their Complaint.”




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ECF No. 113 at 17. Since the Defendants’ submission of their Opposition to the

States’ Motion for Preliminary Injunction, the States have filed an Amended

Complaint that clarifies the scope of their claims and requests for relief. See ECF

No. 114.   The States request that the Court preliminarily enjoin the Agency

Defendants from implementing “the Federal Funding Freeze” “effectuated through

EOs, the Unleashing [Guidance], the OMB Directive, and other agency actions . . ..”

Id. ¶ 246. The States’ request for a preliminary injunction makes clear that they are

challenging a pause on federal funding that was implemented under not only the

OMB Directive, but also to the EOs incorporated therein and other agency actions

such as the OMB’s issuance of the Unleashing Guidance. Thus, the rescission of the

OMB Directive does not provide the States with all the prospective relief they have

requested. 6 Accordingly, the States’ preliminary injunction request is not moot.

             2.    Standing

      The Defendants assert that the States lack standing to challenge the OMB

Directive, particularly with respect to claims based on funding streams that “(1) are

not within the scope of the OMB Memo; (2) are not managed by any of the Defendant

agencies; or (3) benefit other States or third parties that are not plaintiffs in this

case.” ECF No. 113 at 18-19. “To have standing, a plaintiff must ‘present an injury

that is concrete, particularized, and actual or imminent; fairly traceable to the




      6  Additionally, various funding disruptions that occurred after the Court’s
TRO—and that continue to the present day—underscore how the Directive’s
rescission does not suffice as “voluntarily” providing the States all the prospective
relief they request. See ECF No. 96 at 3.


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defendant’s challenged behavior; and likely to be redressed by a favorable ruling.’”

Dep’t of Com. v. New York, 588 U.S. 752, 766 (2019) (quoting Davis v. Fed. Election

Comm’n, 554 U.S. 724, 733 (2008)). The Defendants contend that the States seek to

bring five claims against “thousands of various agency funding streams,” and thus

must demonstrate standing for each claim against each funding stream. ECF No.

113 at 18. But the States’ claims are not against funding streams. 7 Rather, the

States’ claims focus on the Defendants’ actions, which seek to inhibit access to

obligated funds indefinitely and indiscriminately—without reference to statute,

regulations, or grant terms.

      The States have introduced dozens of uncontested declarations illustrating the

effects of the indiscriminate and unpredictable freezing of federal funds, which

implicate nearly all aspects of the States’ governmental operations and inhibit their

ability to administer vital services to their residents. 8 These declarations reflect at

least one particularized, concrete, and imminent harm that flows from the federal

funding pause—a significant, indefinite loss of obligated federal funding. And such



      7 Even if the States’ claims were targeted at these “thousands” of funding

streams, their inability to feasibly take a program-by-program, grant-by-grant
approach to raising their challenges is the consequence of the Defendants’ broad,
sweeping efforts to indefinitely stop nearly all faucets of federal funding from flowing
to carry out the President’s policy priorities, without regard to Congressional
authorizations. One cannot set one’s house on fire and then complain that the
firefighters smashed all the windows and put a hole in the roof trying to put it out.
       8 See e.g., ECF Nos. 68-99 ¶ 11, 12; 68-18 ¶¶ 17-19; 68-102 ¶¶ 4-6 (effects on

public safety and emergency management services); 68-31 ¶¶ 6, 7; 68-32 ¶ 13 (effects
on health care services); 68-75 ¶¶ 6-8; 68-76 ¶ 5; 68-89 ¶ 5 (effects on State education
services); 68-113 ¶¶ 45, 60-61; 68-95 ¶¶ 8-13; 66-123 ¶¶ 5, 29 (effects on
environmental safety and energy development); 68-76 ¶¶ 7-19; 68-86 ¶¶ 9-10; 68-116
¶¶ 15-16, 21 (effects on childcare services and child welfare).


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a harm is fairly traceable to the Defendants’ conduct via their acts to implement a

widespread federal funding pause under the OMB Directive, the EOs incorporated

therein, and the Unleashing Guidance. Granting this Motion in the States’ favor will

more than likely redress their injuries because it would inhibit the abrupt, indefinite

pause of obligated federal funds on which the States rely to administer vital services

to their residents. Accordingly, the States have the requisite standing to challenge

the federal funding freeze.

      Now that the Court has jumped over these initial hurdles, it moves to

resolution of the States’ preliminary injunction motion.

      B.     Likelihood of Success on the Merits

             1. Administrative Procedure Act Claims

      The States assert that the Agency Defendants’ 9 implementation of the federal

funding freeze, without regard to relevant authorizing statutes and regulations,

violates the Administrative Procedure Act (“APA”) because such actions violate the

law, are ultra vires, and arbitrary and capricious. ECF No. 67 at 52 (citing 5 U.S.C.

§ 706(2)(A)). To begin, the Court must address the Defendants’ arguments that the

States’ APA claims do not fall within the Court’s subject matter jurisdiction.

                    a. Final Agency Action

      The APA allows judicial review of “final agency action for which there is no

other adequate remedy in a court.” 5 U.S.C. § 704. An agency action is “final” if: (1)




      9 “Agency Defendants” refers to the federal executive agencies and
departments that are parties in this suit.


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it marks the “‘consummation’ of the agency’s decisionmaking process,” and (2) the

action determines rights or obligations or creates legal consequences. Harper v.

Werfel, 118 F.4th 100, 116 (1st Cir. 2024) (citing Bennett v. Spear, 520 U.S. 154, 177

(1997)).

      The States identify: (1) the OMB Directive itself; and (2) the Agency

Defendants’ implementation of a categorical federal funding freeze, under the OMB

Directive and Section 7(a) of the Unleashing EO, as final agency actions. ECF No. 67

at 53. The Defendants contend that the OMB Directive and other “guidance” about

implementing the President’s priorities are not final agency actions because the OMB

Directive did not determine which funds or grants should be paused but required

agencies to make such a determination under their respective authorities. ECF

No. 113 at 28.

      To suggest that the challenged federal funding freezes were purely the result

of independent agency decisions rather than the OMB Directive or the Unleashing

Guidance is disingenuous. Recall that the OMB Directive informed agencies that

they “must complete a comprehensive analysis of all of their Federal financial

assistance programs to identify programs, projects, and activities that may be

implicated by any of the President’s executive orders.” ECF No. 68-9 at 2. The OMB

Directive mandated that “[i]n the interim” of these comprehensive analyses, “Federal

agencies must temporarily pause all activities related to obligation or disbursement

of all Federal financial assistance, and other relevant agency activities that may be

implicated by the executive orders . . ..” Id. (second emphasis added). Elsewhere, the




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OMB Directive emphasized that “[e]ach agency must pause . . . disbursement of

Federal funds under all open awards.” Id.

      The record makes clear that following the OMB Directive’s issuance—and even

before it was set to take effect—many of the States found themselves unable to draw

down appropriated and awarded funding because they were completely shut out from

accessing federal funding payment portals such as the Payment Management

Services (“PMS”). 10 As the States highlight, such a wholesale shutdown does not

suggest that agencies made individualized assessments of their statutory authorities

and relevant grant terms before making the determination to blanketly pause access

to obligated funds. 11 And how could these agencies make such assessments? The

OMB Directive explicitly stated that the “temporary funding pause will become

effective on January 28, 2025, at 5:00 PM”—a mere day after the Directive was




      10 See e.g., ECF Nos. 68-100 ¶ 8 (Oregon unable to access Medicaid federal

funding system for entire day on January 28); 68-93 ¶ 6 (New York State Comptroller
Office unable to draw over $70 million in obligated federal funds); 68-118 ¶ 18
(Washington’s DCYF unable to draw down funds on morning of January 28—faced
with message from federal payment system stating, “Temporary Pause on
Disbursement of Federal Financial Assistance”); 68-55 ¶¶ 27-28 (New York’s DCFS
unable to draw down funds from PMS on morning January 28—faced with message
stating: “Due to [EOs] regarding potentially unallowable grant payments, PMS is
taking additional measures to process payments. Reviews of applicable programs and
payments will result in delays and/or rejections of payments.”).
       11 While the Defendants claim that the Directive and the EOs required the

agencies to pause funding and impose restriction on obligated funds consistent with
the law, the undisputed evidence before the Court is that adding the “consistent with
the law” caveat was nothing more than window dressing on an unconstitutional
directive by the Executive. This is clear because when the Court clarified its TRO,
when faced with evidence that the Defendants continued to freeze obligated funding,
the money flowed once again.



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issued. Id. As another court faced with a similar challenge to the OMB Directive

underscored “it is unclear whether twenty-four hours is sufficient time for an agency

to independently review a single grant, let alone hundreds of thousands of them.”

Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL

368852, at *8 (D.D.C. Feb. 3, 2025). Overall, the OMB Directive amounted to a

command, not a suggestion, that Agency Defendants shall execute a categorical,

indefinite funding freeze to align funding decisions with the President’s priorities.

Such a command, along with the Agency Defendants swift actions to execute the

categorical   funding   freeze,   marked   the   “consummation   of   each   agency’s

decisionmaking process to comply with the President’s executive order, the OBM

[Directive], or both.” Drs. for Am. v. Off. of Pers. Mgmt., No. CV 25-322 (JDB), 2025

WL 452707, at *5 (D.D.C. Feb. 11, 2025).

      The same analysis applies to the Agency Defendants’ acts implementing

funding pauses under Section 7(a) of the Unleashing EO and the OMB’s Unleashing

Guidance.     The Unleashing Guidance largely reiterates the Unleashing EO’s

instruction that agencies immediately pause disbursements of funds under the IRA

or IIJA and does not even attempt to allow for agency discretion. 12 See ECF No. 68-

13 at 2.    And agencies, such as the Department of Energy (DOE) and the U.S.

Department of Agriculture acted quickly to implement the pause of appropriated IIJA




      12 The most that the Unleashing Guidance advances is an attempt to limit the

pause of IRA/IIRA to only to “funds supporting programs, projects, or activities that
may be implicated by the policy established in section 2 of the [Unleashing] order.”
See ECF No. 68-13.

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and IRA funds. See ECF Nos. 68-123 ¶¶ 33, 36, 37; 68-92 ¶¶ 14-15. Thus, the

implementation of those IIJA and IRA funding pauses likely marked the

consummation of each agency’s decision to comply with the Unleashing EO, the

Unleashing Guidance, or both, not to exercise its discretion.

      As to the second finality factor, the evidentiary record sufficiently shows that

the abrupt, categorical, and indefinite pause of obligated federal funds is the direct,

appreciable legal consequence that States have suffered from the Agency Defendants’

actions implementing the funding pauses commanded in the OMB Directive and the

Unleashing EO. Accordingly, the Agency Defendants’ actions suffice as “final agency

action” as to permit the Court’s judicial review of such actions under the APA.

      Returning to the merits, the Court must decide whether the States are likely

to succeed on their claim that the Defendants’ implementation of the federal funding

freeze was contrary to law, ultra vires, and arbitrary and capricious. Under the APA,

a court must “hold unlawful and set aside agency action, findings, and conclusions” if

they are “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” 5 U.S.C. § 706(2)(A). Because this standard is “quite narrow: a reviewing

court ‘may not substitute its judgment for that of the agency, even if it disagrees with

the agency’s conclusions.’”   Atieh v. Riordan, 797 F.3d 135, 138 (1st Cir. 2015)

(quoting River St. Donuts, LLC v. Napolitano, 558 F.3d 111, 114 (1st Cir. 2009)).

Therefore, a reviewing court must uphold an agency’s decision if it is: (1) devoid of

legal errors; and (2) “supported by any rational review of the record.” Mahoney v. Del

Toro, 99 F.4th 25, 34 (1st Cir. 2024) (quoting Atieh, 797 F.3d at 138). The Court will




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first discuss whether the Defendants’ actions were contrary to law and then turn to

whether such acts were arbitrary and capricious.

                   b. Contrary to Law and Ultra Vires Actions

      The States assert that the Defendants acted contrary to law and exceeded their

statutory authority when imposing the challenged federal funding freeze. “When an

executive agency administers a federal statute, the agency’s power to act is

‘authoritatively prescribed by Congress.’” City of Providence v. Barr, 954 F.3d 23, 31

(1st Cir. 2020) (quoting City of Arlington v. FCC, 569 U.S. 290, 297 (2013)).

Therefore, “an agency literally has no power to act ... unless and until Congress

confers power upon it.” Id. (quoting La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355,

374, (1986)). Any action an agency takes that is beyond the limits of its statutory

authority is ultra vires and violates the APA. Id.

      The statutory scheme governing federal appropriations are at the forefront of

the States’ ultra vires and “contrary to law” claims against the Agency Defendants.

The States contend that the ICA 13 permits the Executive to defer or decline the

expenditure of appropriated federal funds only under certain limited conditions that

are not present here. See ECF No. 67 at 45, 54-55. They highlight that such an

expenditure deferral cannot be made based on policy reasons but only on the



      13 The Defendants assert that because the ICA does not provide for a private

right of action, the statute is “generally not enforceable through an APA suit.” ECF
No. 113 at 44 (citing Gen. Land Off. v. Biden, 722 F. Supp. 3d 710, 734-35 (S.D. Tex.
2024)). The Court declines to adopt such a narrow view of what it may consider when
determining whether an agency has acted “not in accordance with law” under the
APA. In the Court’s view, “not in accordance with law,” refers to “any law.” F.C.C. v.
NextWave Pers. Commc’ns Inc., 537 U.S. 293, 300 (2003).

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permissible bases listed under the ICA. See id. at 54 (citing 2 U.S.C. § 684(b)); Mem.

of Gen. Accountability Off., Office of Management and Budget—Withholding of

Ukraine Security Assistance, B-331564, at 6 (Jan. 16, 2020), https://perma.cc/6TMT-

3CH2. The States also note that the ICA requires the Executive to send a “special

message” to Congress explaining proposed deferrals. Id. at 55 (2 U.S.C. § 684(a)).

Thus, the States argue that the federal funding freeze exceeded the Defendants’

authority and contravened the ICA because: (1) the freeze, or deferral, was

impermissibly based on “policy disagreement with Congressional priorities;” and (2)

the Executive failed to send the required “special message” to Congress detailing the

numerous proposed deferrals.

      The ICA provides that “[w]henever the President, the Director of the [OMB],

[or] the head of any [U.S.] department or agency . . . proposes to defer any budget

authority provided for a specific purpose or project,” the President must send a

“special message” to Congress detailing the proposed deferrals. 2 U.S.C. § 684(a). A

“deferral of budget authority” includes: (1) “withholding or delaying the obligation or

expenditure of budget authority . . . provided for projects or activities;” or (2) “any

other type of Executive action or inaction which effectively precludes the obligation

or expenditure of budget authority . . ..” Id. § 682(1)(A), (B). Further, the ICA

enumerates only three bases in which a deferral is permissible: (1) “to provide for

contingencies;” (2) “to achieve savings made possible by or through changes in

requirements or greater efficiency of operations;” or (3) “as specifically provided by




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law.” Id. § 684(b). “No officer or employee of the United States may defer any budget

authority for any other purpose.” Id. (emphasis added).

      Here, the OMB Directive and Section 7(a) of the Unleashing EO, constituted a

budget authority deferral because it commanded—and prompted—an indefinite

withholding or delay of obligated funds. 2 U.S.C. § 682(1)(A). Thus, under the law,

the President was required to send a special message to Congress detailing the

proposed deferrals, such as the amounts deferred, the proposed deferral period, and

the programs involved. See id. § 684(a). There is no evidence that such a special

message detailing the indefinite, widespan deferrals of obligated funding was ever

communicated to Congress. Accordingly, the States have substantiated a likelihood

of success in proving that the Executive’s actions were contrary to law when bringing

about a deferral of budget authority without sending a special message to Congress

as the ICA requires.

      The States also raise that “the Funding Freeze violates the specific statutes in

which Congress mandated that funding be used in a specific manner according to

specific terms.” ECF No. 67 at 55. They assert that many federal funding streams

are so-called “categorical” or “formula” grants that Congress directed the Executive

to provide to the States based on “enumerated statutory factors, such as population

or the expenditure of qualifying State funds.” Id. (citing City of Los Angeles v. Barr,

941 F.3d 931, 934-35 (9th Cir. 2019)). Thus, the States contend that Congress’s

specific directives in the statutory and regulatory schemes that govern such “formula”




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funding streams are inconsistent with the sweeping authority the Defendants have

asserted in carrying out the federal funding freeze. Id. at 48, 55-56.

       The States have underscored clear examples in which Congress has

appropriated funds to federal programs and has strictly prescribed how those funds

must be expended. For example, the IIJA appropriated over $14 billion in grants for

the States’ Clean Water revolving funds from 2022 to 2026. IIJA, Pub. L. No. 117-58,

§ 50210, 135 Stat. 429, 1169 (2021).      Those funds are a creature of a separate

statute—the Federal Clean Water Act—which instructs the Environmental

Protection Agency (“EPA”) that it “shall make capitalization grants to each State,”

via formula grants, to establish and support water pollution control revolving funds

for certain enumerated objectives and policy goals. 33 U.S.C. §§ 1381(a), (b); 1383(c);

1384(a), (c)(2).

       Additionally, the IRA established a program to subsidize heat pump systems

purchases, instructing the DOE Secretary that they “shall reserve funds . . . for each

State energy office” based on an allotment formula. 42 U.S.C. § 18795a(a)(2)(A)(i)

(emphasis added).    Further, a climate pollution reduction grant under the IRA

directed that the EPA “shall make a grant to at least one eligible entity in each State

for the costs of developing a plan for the reduction of greenhouse gas air pollution . .

..” 42 U.S.C. § 7437(b). Congress has instructed other agencies to provide the States

with federal funding using a mandatory fixed formula. See e.g., 23 U.S.C. § 104(a)(1),

(b), (c) (instructing that the Transportation Secretary “shall” distribute federal

highway funds based on mandatory apportionment formulas); 42 U.S.C. §§ 300x(a),




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300x-7(a), 300x-21(a), 300x-33(a) (directing that the Health and Human Services

Secretary “shall make” or “shall determine the amount of” grants to States for mental

health and substance abuse treatment based on fixed statutory formulas).

      These are a few examples of funding streams where Congress has mandated

that the Executive spend appropriated funds according to a prescribed statutory

formula, thus leaving agency Secretaries with no discretion to deviate from such

formula. See ECF No. 67 at 6-11, 48-50; see also ECF No. 147 at 9-10. Yet the

Agency Defendants halted the disbursement of these formula grants when freezing

appropriated funds to ensure spending conformed with the President’s policy

priorities. See e.g., ECF Nos. 68-35 ¶ 20 (California’s Water Resources Control Board

unable to draw down funds under existing Clear Water State Revolving Funds grant

agreements on January 31); 68-123 ¶ 4, 9 (Colorado unable to draw down funds for

the IRA climate pollution reduction grant); see also ECF No. 68-124 at 2 (DOE

memorandum announcing that “[a]ll funding and financial assistance . . . shall not be

announced, approved, finalized, modified, or provided until a review of such takes

place to ensure compliance with . . . Administration policy.”).

      But “[a]bsent congressional authorization, the Administration may not

redistribute or withhold properly appropriated funds in order to effectuate its own

policy goals.” City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1235 (9th Cir.

2018). There is sufficient evidence that, in implementing the funding freeze, the

Agency Defendants withheld funding that Congress did not tie to compliance with

the President’s policy priorities in the OMB Directive and the Unleashing EO.




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Accordingly, the States have substantiated a likelihood of success on the merits that

the Agency Defendants acted “not in accordance with the law”—in violation of the

APA—when exceeding their statutory authority to carry out a categorical federal

funding freeze. 5 U.S.C. § 706(2)(A).

                    c. Arbitrary and Capricious

      Next, the States argue that the challenged federal funding freeze is arbitrary

and capricious because it is not “reasonable or reasonably explained.” ECF No. 67

at 56 (quoting Fed. Commc’ns Comm’n v. Prometheus Radio Project, 592 U.S. 414,

423 (2021)).   The States assert that the Agency Defendants did not provide a

satisfactory explanation for the funding freeze and explained only that the freeze was

aimed at helping the President achieve his policy priorities. ECF No. 67 at 56. The

States contend that achieving such priorities “cannot come in the form of an across-

the-board directive that contravenes numerous statutory provisions without

explanation of how that action comports with applicable statutory or regulatory

commands or factors relevant under those authorities.” Id. Further, the States allege

that the Defendants disregarded the harmful consequences of the funding freeze,

particularly the danger to “critical services [upon which] millions of Americans rely.”

Id. at 56-57. Lastly, the States argue that the freezing of all funds appropriated

under the IRA and the IIJA was substantively unreasonable because it lacks support

in law and contravenes statutory text. Id. at 57.

      The Defendants counter that the OMB Directive adequately explained the

goals of the funding freeze, which was “to effectuate the President’s Executive Orders




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and ‘safeguard valuable taxpayer resources.’” ECF No. 113 at 57 (citing OMB

Directive at 1). Further, the Defendants assert that the OMB Directive rationally

connected the temporary pause to those stated objectives when explaining that the

pause was needed to give “the Administration time to review agency programs and

determine the best [funding uses] consistent with the law and the President’s

priorities.” Id. at 57-58 (citing OMB Directive at 2). They highlight that the OMB

Directive explicitly orders agencies to act “consistent with the law” six times and thus

agencies were not directed to contravene their statutory authorities. Id. at 58.

      Moreover, the Defendants argue they did consider important aspects of the

problem because the OMB Directive highlighted the problem—the “significant

amount of money” spent each year on financial assistance—and merely directed

agencies to assess the problem by reviewing which assistance may be impacted by

the President’s order. Id. Additionally, they assert that they considered the practical

consequences that would flow and took steps to mitigate them because the OMB

Directive: (1) exempted assistance provided directly to individuals from the pause; (2)

noted that the OMB could grant exceptions on a case-by-case basis; (3) directed only

a temporary pause; and (4) provided a delayed effective date. Id. at 58-59.

      A decision is arbitrary and capricious “if the agency has relied on factors which

Congress has not intended it to consider, entirely failed to consider an important

aspect of the problem, offered an explanation for its decision that runs counter to the

evidence before the agency, or is so implausible that it could not be ascribed to a

difference in view or the product of agency expertise.’” Melone v. Coit, 100 F.4th 21,




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29 (1st Cir. 2024) (Craker v. DEA, 714 F.3d 17, 26 (1st Cir. 2013)). The Court finds

that the Defendants have not provided a rational reason that the need to “safeguard

valuable taxpayer resources” is justified by such a sweeping pause of nearly all

federal financial assistance with such short notice. Rather than taking a deliberate,

thoughtful approach to finding these alleged unsubstantiated “wasteful or fraudulent

expenditures,” the Defendants abruptly froze billions of dollars of federal funding for

an indefinite period. It is difficult to perceive any rationality in this decision—let

alone thoughtful consideration of practical consequences—when these funding

pauses endanger the States’ ability to provide vital services, including but not limited

to public safety, health care, education, childcare, and transportation infrastructure.

See ECF No. 67 at 24-34, 58-61.

      Further, the mere twenty-four hours that the OMB gave agencies to discern

which of thousands of funding freezes must or must not be paused flouts the

Defendants’ arguments that either the “delayed” effective date or the “consistent with

the law” instruction mitigated the harm that the pause caused. The OMB Directive

essentially ordered agencies to effectuate the blanket pause and then decide later

which funding streams they actually had lawful authority to withhold. See e.g., ECF

No. 68-55 ¶¶ 27-28 (New York’s Office of Children and Family Services unable to

draw down funds from PMS on morning January 28—faced with message stating:

“Due to [EOs] regarding potentially unallowable grant payments, PMS is taking

added measures to process payments. Reviews of applicable programs and payments

will result in delays and/or rejections of payments.”). Again, the Defendants have not




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proffered a rational reason for how their alleged goal of safeguarding taxpayer funds

justified a de facto suspension of nearly all federal funding. Thus, the States have

substantiated a likelihood of success of proving that the Agency Defendants’

implementation of the funding freeze was arbitrary and capricious.

       Further, the Agency Defendants’ categorical freeze of funding appropriated

under the IRA and IIJA is also likely substantively unreasonable in violation of the

APA.    Generally, substantive unreasonableness may arise when an agency

“exercise[s] its discretion unreasonably.” Multicultural Media, Telecom & Internet

Council v. Fed. Commc’ns Comm’n, 873 F.3d 932, 936 (D.C. Cir. 2017) (Kavanaugh,

J.). As discussed above, the IRA and IIJA appropriated funds to certain programs

and funding streams that mandated expenditures based on fixed formulas—not the

contravening policies of the President. Based on the record, the Agency Defendants

implemented sweeping pauses of IRA/IIJA appropriated funds—under the OMB

Directive and Unleashing EO—despite various fundings streams being governed by

statutory commands that did not give discretion to withhold funds based on the policy

initiatives the Executive sought to further. See e.g., ECF Nos. 48-1 ¶¶ 4-5 , 68-124

at 2; 68-123 ¶¶ 6-10, 26; 68-123 ¶ 36; 68-92 ¶ 15. Thus, the States have substantiated

a likelihood of success on illustrating that the Agency Defendants unreasonably

exercised its discretion, in violation of the APA, when broadly freezing IRA/IIJA

appropriated funds in contravention of the underlying statutory funding commands.

       In sum, the Agency Defendants have failed to offer rational reasons for finding

that the policy objectives stated in the OMB Directive and Section 2 of Unleashing




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EO justified the indefinite pause on nearly all federal funding. The breadth and

immediacy of the funding freeze and the catastrophic consequences that flowed

reflects the Agency Defendants’ failure to: (1) meaningfully consider the “important

aspect[s] of the problem[s]”—namely the plain implications of withholding trillions of

dollars of federal financial assistance; and (2) reflect if the freeze fell within the

bounds of their statutory authority. Accordingly, the States have shown a likelihood

of success on their APA claims (Counts I and II). The Court “need go no further.” 14

It turns now to whether the States satisfy the other requirements for injunctive

relief. 15

        C.    Irreparable Harm

        “District courts have broad discretion to evaluate the irreparability of alleged

harm and to make determinations regarding the propriety of injunctive relief.” K–

Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 915 (1st Cir. 1989) (quoting Wagner

v. Taylor, 836 F.2d 566, 575–76 (D.C. Cir. 1987)). There are “relevant guideposts” to

guide that discretion—“the plaintiff’s showing must possess some substance” and “the

predicted harm and the likelihood of success on the merits must be juxtaposed and

weighed in tandem.” Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 19



        14 The Honorable Bruce M. Selya’s body of over 1800 written opinions, passim.
        15 Under the constitutional avoidance doctrine, “federal courts are not to reach

constitutional issues where alternative grounds for resolution are available.”
Vaquería Tres Monjitas, Inc. v. Pagan, 748 F.3d 21, 26 (1st Cir. 2014) (quoting Am.
Civil Liberties Union v. U.S. Conference of Cath. Bishops, 705 F.3d 44, 52 (1st Cir.
2013)). Thus, because the Court finds the challenged agency actions violate the APA,
the Court will not decide the States’ constitutional claims (Counts IV-VIII), although
the Court has noted in its introduction to this decision that the constitutional balance
of powers issues that arise from the Executive’s actions in this case are serious.


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(1st Cir. 1996) (citations omitted). The Court found at the TRO stage that the States

would suffer irreparable harm if the Defendants’ blanket freeze of appropriated and

obligated funds, which currently has no end date, were not enjoined. After a full

briefing and hearing on the merits where the Defendants presented no answer, no

evidence, and no counter to the States’ extensive evidence of still frozen funds and

the harm resulting, the Court finds that the unrefuted evidence shows irreparable

and continuing harm.

      In their Complaint, preliminary injunction motion, and during the argument

thereon, the States laid out scores of examples of obligated funding and the harm that

withholding such funding has caused. It is so obvious that it almost need not be

stated that when money is obligated and therefore expected (particularly money that

has been spent and reimbursement is sought) and is not paid as promised, harm

follows—debt is incurred, debt is unpaid, essential health and safety services stop,

and budgets are upended. And when there is no end in sight to the Defendants’

funding freeze, that harm is amplified because those served by the expected but

frozen funds have no idea when the promised monies will flow again.

      Defendants concede that there is no date written into the EOs or the OMB

Directive or instructions when the freeze will end but argues that the funding

recipients can be assured that it will end eventually, presumably when the agencies

have reviewed all of the funding and made decisions about whether any or all or some

align with how the President wants that money spent. The States are not reassured

by this vague promise, and neither is the Court. This is particularly true where the




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States had no notice of a potential freeze so they could plan, States appear to have

little to no information about how any funding review is being conducted and by

whom, and even though the frozen funds were obligated and owed, States had no

chance to justify and protect the funding that they were granted by statute,

regulation, or grant contract. See, e.g., ECF Nos. 68-28 (receiving no response from

EPA officials to inquiry about grants missing from ASAP); 68-33 (same). As the Court

observed, these arbitrary and capricious actions violate the APA, with consequences

that harm not only to our orderly system of government but also inflict direct

pecuniary harm to the States and their residents.

      The States have presented unrebutted evidence of the harm they are suffering

and will continue to suffer due to this categorical funding freeze. The Court will not

recount each instance but will summarize the “highlights” and note that while the

States are the plaintiffs in this Court, it is their citizens, often our most vulnerable

citizens, who are enduring much of the harm resulting from these arbitrary and

capricious acts. The Court makes the following factual findings based on the record

evidence.

      Head Start and other childcare programs have been impacted.                As of

February 5, 2025, many Head Start providers were still having difficulties accessing

federal funds and are considering layoffs, reductions in service, and even closures.

See ECF Nos. 68-76; 68-41.      Some States would have to pay more in provider

subsidies if federally-funded Head Start childcare does not resume. ECF No. 68-111.




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Other federally-funded childcare, child welfare services, and early childhood services

are impacted. See ECF Nos. 68-76; 68-36; 68-86; 68-116; 68-55; 68-68; 69-39; 68-43.

      A freeze in federal funding for education “would catastrophically disrupt

student instruction[,]” including for low-income students and children with

disabilities. ECF No. 68-89 ¶ 8; see also ECF Nos. 68-75; 68-43; 68-116. A freeze

impacts state universities who receive federal funding who may be forced to stop vital

research projects. “Even a temporary pause in funding could require the University

to shutter or reduce programs, including mission-critical research activities,

instruction, and public service activities and to furlough and/or lay off employees.”

ECF Nos. 68-112 ¶ 7; 68-121 ¶ 7 (“Research projects that require daily activities and

meticulous record-keeping may be ruined, setting back the research enterprise and

wasting the federal investment.”).

      This funding freeze affects critical healthcare provided through federally-

funded Medicaid programs, the Children’s Health Insurance Program (“CHIP”), and

other health care programs. ECF Nos. 68-31, 68-32; 68-74; 68-105; 68-24. Loss of

Medicaid funding would “significantly impede the delivery of basic health care

services to . . . low-income, elderly, and pregnant individuals, as well as individuals

with disabilities.” ECF No. 68-32 ¶ 13.

      The funding freeze also impacts law enforcement and public safety agencies

who also rely on federal funding. Federal grant programs support state and local law

enforcement agencies, community violence, and crisis interruption programs, and

programs addressing sexual violence, among many other crucial services.           ECF




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Nos. 68-102, 68-18. In an evident and acute harm, with floods and fires wreaking

havoc across the country, federal funding for emergency management and

preparedness would be impacted. ECF Nos. 68-111; 68-39. To be sure “[i]f a major

disaster were to occur while federal emergency management funds . . . are frozen. . .

[p]ending preparedness training and mitigation work may come to a stop and the

incapacitation of federally-funded emergency management programs and services

that would result from a federal funding freeze could very well lead to increased loss

of life and injury …, slowed emergency response times, greater risks to first

responders, greater property damage, and delays to community recovery and

rebuilding.” ECF No. 68-99 ¶ 13.

       The freeze affects job training, workforce development, and unemployment

programs and the ripple effect of cutting off this funding is felt throughout the States.

ECF Nos. 68-94; 68-54; 68-70; 68-104; 68-39; 68-88; see ECF No. 68-29 ¶ 27 (harms

to veterans seeking to acquire job skills and employment, and others seeking career

and employment training services, reduced level of service in processing and

approving unemployment insurance claims and paying out unemployment insurance

benefits);   ECF No. 68-30 ¶ 13 (harms to workers seeking to participate in job

apprenticeship programs).

       The freeze also affects federal funds for critical transportation infrastructure,

such as the $60 million in promised reimbursement for the costs of removal and

salvage of debris from the Francis Scott Key Bridge for which Maryland is awaiting.

ECF No. 68-66 ¶¶ 5-7 . Other States have likewise entered into contracts for projects




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to be paid for with obligated funds. ECF Nos. 68-77; 68-31; 68-66; 68-80; 68-39.

Without these funds, States may have to suspend, delay, or cancel projects. ECF

No. 68-77.

      IIJA and IRA funding programs are subject to the freeze and threaten the loss

of essential services to protect the health, safety, and welfare of the States’ residents.

See, e.g., ECF No. 68-28 (California Air Resource Board unable to access granted

federal funding aimed at monitoring air toxins); ECF No. 68-42 (frozen funds include

those awarded to South Coast Air Quality Management District for programs

reducing air pollution from freight corridors and warehousing hubs); ECF No. 68-113

(funding freeze threatens to pause important contamination remediation efforts;

contracted-for brownfield cleanup work being “held up” by funding freeze); ECF

No. 68-106 (frozen funds designated for monitoring of air pollution); ECF No. 68-92

(New York State Department of Environmental Conservation denied funding

reimbursement for plugging of orphaned oil and gas wells due to alleged inconsistency

with OMB’s Unleashing Guidance).

      Congress enacted these statutes and appropriated these funds for legitimate

reasons, and the Defendants’ categorical freeze, untethered to any statute,

regulation, or grant term, frustrates those reasons, and causes significant and

irreparable harms to the States. See, e.g., ECF No. 68-118 (pause in funding streams

would have “massive impact,” require resource shifts, and interfere with mission);

ECF No. 68-59 (without grant funding, “small public water systems … will continue

to rely on drinking water polluted by PFAs and/or other emerging contaminants,”




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cleanup of oil and hazardous materials contamination in post-industrial communities

would likely be abandoned, and state efforts to monitor and mitigate air pollution

would be hampered); ECF No. 68-83 (“North Carolina will lose the benefits of over

$117 million in conservation projects” if the freeze is not lifted, leaving its residents

“more vulnerable to flooding and wildfires.”); ECF No. 68-40 (state would have to

regain trust of contractors and homeowners after reimbursement delays); ECF

No. 68-122 (funding freeze causes uncertainty, harming Colorado’s ability to provide

services to Coloradans relying on federal funds for installation of energy-saving

appliances; continued delay will cause homeowners to forfeit improvements to homes

that would cut energy bills); ECF No. 68-95 (freezing of IIJA Grid Resilience

Innovations Partnerships funding in New York will delay electric grid resilience

improvements, “potentially increasing the risk of damage to the grid in a severe

weather event and causing additional harm to small municipal electric utilities.”);

ECF No. 68-59 (pause in Long Island Sound Program Grant would impede

remediation of nitrogen and other pollution); ECF No. 68-79 (frozen $25 million grant

funds for replacing lead service lines to residential homes “put[s] the safety of

Minnesotans’ drinking water at risk”); ECF No. 68-31 (health care, emergency relief,

highway safety, and billions of dollars in water infrastructure, transportation, and

broadband infrastructure projects); ECF No. 68-30 (federal funding pause could

render California government entities unable to deliver numerous services to

increase workplace health and safety); ECF No. 68-35 (interruption in funding

threatens California Water Board’s ability to come into compliance with federal safe




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drinking water standards, including ongoing work to remove lead from water service

lines).

          Even though some funding has begun to flow again after the TRO entered, the

States have presented evidence of harm resulting from the chaos and uncertainty

that the Defendants’ arbitrary decision to categorically freeze billions of dollars in

federal funding.     See, e.g., ECF Nos. 68-40; 68-44 (Connecticut’s Department of

Energy and Environmental Protection “unable to recruit and hire future staff” to

support Solar for All Program due to “budgetary uncertainty”); 68-107 (uncertainty

has led Brown University’s research community to suspend orders of large research

equipment, which over time will negatively impact the ability of researchers to

conduct their studies); 68-85 (uncertainty surrounding funding forcing New Jersey

Board of Public Utilities to decide between delaying Solar for All Program or risking

no reimbursement); 68-27 (uncertainty over grants has disrupted California agency’s

“ability to budget, plan… and carry out its mission”); see also Nat’l Council of

Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL 597959, at *18

(D.D.C. Feb. 25, 2025) (“While funds have resumed flowing to some recipients, that

does not erase the imminence or irreparability of what another pause would entail.”).

          Even with the Court’s TRO in place, state agencies continue to experience

interruptions to access and inconsistent ability to draw down funds from grants

funded by IIJA and IRA appropriations. Some funding has been restored in federal

funding portals, but others appear to have been removed. See, e.g., ECF Nos. 68-28;

68-35; 68-33; 68-59. And nothing in the Defendants’ briefing or oral presentation




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reassures the States that federal agencies, under the Executive’s directives, will

fulfill their funding obligations in the future. See e.g., ECF Nos. 68-20 (Arizona has

incurred obligations over $16 million in reliance on Home Electrification and

Appliance Rebate award, of which over $15 million has yet to be reimbursed); 68-49

(University of Hawaii has been paying five employees out of pocket, without

reimbursement to which they are entitled); 68-106 (elimination of $3 million Climate

Pollution Reduction Grants (“CPRG”) would make statutory compliance more costly);

68-61 (if not reimbursed through CPRG, Massachusetts may be forced to cancel

vendor contract); 68-42 (California’s South Coast Air Quality Management District

and its subgrantees face risks that EPA would refuse to reimburse incurred work and

costs). This litany of struggles experienced in the last seven weeks unquestionably

constitute irreparable harm to the States.

       D.     Balance of the Equities and Public Interest

       The Court need not say much more on the final two factors than it did when it

granted the TRO as the more developed evidentiary record continues to

overwhelmingly show that the balance of equities weighs heavily in favor of granting

the States’ preliminary injunction motion and the public interest is supported by

“preserv[ing] the status quo.” Francisco Sanchez v. Esso Standard Oil Co., 572 F.3d

1, 19 (1st Cir. 2009).

       The Defendants are not harmed where the order requires them to disburse

funds that Congress has appropriated to the States and that they have obligated. The

Court’s order does not prevent the Defendants from making funding decisions in




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situations under the Executive’s “actual authority in the applicable statutory,

regulatory, or grant terms,” ECF No. 111 at 7; rather it enjoins agency action that

violates statutory appropriations and obligations. An agency is not harmed by an

order prohibiting it from violating the law.

      On the other hand, without injunctive relief to pause the categorical freeze, the

funding that the States are due and owed creates an indefinite limbo. Without the

injunction, Congressional control of spending will have been usurped by the

Executive without constitutional or statutory authority. While some of the funding

has begun to flow, and some only after the Court issued an order to enforce the TRO,

the States continue to face substantial uncertainty about whether Defendants will

meet their contractual obligations under several statutorily appropriated programs,

including those under the IIJA and IRA. ECF Nos. 68-93; 68-105; 68-34; 68-101; 68-

100; 68-114; 68-39; 68-80; 68-28; 68-40; 68-35; 68-61; 68-95; 68-23; 68-49; 68-60; 68-

51; 68-48; 68-106; 68-108; 68-52; 68-83; 68-72; 68-59; 68-42; 68-85; 68-56.

      In light of the unrebutted evidence that the States and their citizens are

currently facing and will continue to face a significant disruption in health, education,

and other public services that are integral to their daily lives due to this overly broad

pause in federal funding, the Court finds that the public interest lies in maintaining

the status quo and enjoining any categorical funding freeze.

IV.   PRELIMINARY INJUNCTION

      A preliminary injunction is appropriate, and the Court ORDERS as follows:




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      1.     The Agency Defendants 16 are enjoined from reissuing, adopting,

implementing, giving effect to, or reinstating under a different name the directives in

OMB Memorandum M-25-13 (the “OMB Directive”) with respect to the disbursement

and transmission of appropriated federal funds to the States under awarded grants,

executed contracts, or other executed financial obligations.

      2.     The Agency Defendants are enjoined from pausing, freezing, blocking,

canceling, suspending, terminating, or otherwise impeding the disbursement of

appropriated federal funds to the States under awarded grants, executed contracts,

or other executed financial obligations based on the OMB Directive, including funding

freezes dictated, described, or implied by Executive Orders issued by the President

before rescission of the OMB Directive or any other materially similar order,

memorandum, directive, policy, or practice under which the federal government

imposes or applies a categorical pause or freeze of funding appropriated by Congress.

This includes, but is by no means not limited to, Section 7(a) of Executive Order

14154, Unleashing American Energy.

      3.     The Defendants must provide written notice of this Order to all federal

departments and agencies to which the OMB Directive was addressed. The written

notice shall instruct those departments and agencies that they may not take any

steps to implement, give effect to, or reinstate under a different name or through

other means the directives in the OMB Directive with respect to the disbursement or




      16“Agency Defendants” refers to the federal executive Agencies and
Departments that are parties in this suit.


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transmission of appropriated federal funds to the States under awarded grants,

executed contracts, or other executed financial obligations.

      4.     The foregoing written notice shall also instruct those agencies to release

and transmit any disbursements to the States on awarded grants, executed contracts,

or other executed financial obligations that were paused on the grounds of the OMB

Directive and Executive Orders included by reference therein or issued before the

rescission of the OMB Directive.

      5.     In light of the States’ second motion to enforce the TRO, ECF No. 160,

Defendant Federal Emergency Management Agency (“FEMA”) shall file a status

report on or before March 14, 2025, informing the Court of the status of their

compliance with this order.

      Additionally, based on its findings that the States: (1) are entitled to a

preliminary injunction; and (2) will be irreparably harmed without this Order, the

Court DENIES the Defendants’ request to stay this Order pending appeal to the First

Circuit.   See ECF No. 113 at 65-66. Further, the Court DENIES as moot the

Plaintiffs’ motion to enforce the TRO because this Order’s issuance renders the TRO

expired. ECF No. 160.


IT IS SO ORDERED.



_________________________________
John J. McConnell, Jr.
Chief Judge
United States District Court for the District of Rhode Island

March 6, 2025


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